        Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,
                                                S1 17 Cr. 220 (JAM)
        v.
                                                March 9, 2018
ANDRE FLOTRON,

                        Defendant.

                   REPLY MEMORANDUM OF LAW IN SUPPORT OF
                       DEFENDANT’S MOTION TO COMPEL

       Defendant Andre Flotron, by and through the undersigned counsel and pursuant to Rule

17 of the Federal Rules of Criminal Procedure, respectfully submits this reply memorandum of

law in further support of his motion to compel Quantlab Financial LLC (“Quantlab”) to produce

documents responsive to Request #1 in the subpoena duces tecum issued to it on February 7,

2018 (the “Subpoena”) (ECF No. 86).

                                        INTRODUCTION

       At trial, the government will argue that Mr. Flotron defrauded complex, sophisticated

computer programs, like Quantlab’s, placing those complex trading algorithms at the center of

this case. But rather than introducing those algorithms into evidence, it appears that the

government will seek to elicit surface-level, conclusory testimony about them and their trading

decisions as an inadequate substitute. Mr. Flotron should not be required to be a passenger to the

government’s trial strategy and should not be limited to blind cross-examination of witnesses

who supervise algorithms. He is entitled to disclosure of those algorithms as relevant and

admissible evidence pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure.

       In opposing Mr. Flotron’s Motion to Compel, Quantlab first argues that Mr. Flotron has
        Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 2 of 11



no need for the trading algorithms because “the source code . . . is unnecessary to understand”

how its algorithms work. Quantlab Financial LLC’s Memorandum of Law in Opposition to

Defendant’s Motion to Compel at 7 (Mar. 7, 2018), ECF No. 105 (“Opp.”). Quantlab contends

that its algorithms account for a common and standard metric – “order book pressure” – that Mr.

Flotron allegedly influenced, and therefore he need not inquire any further into the operations of

their complex trading system. Measuring order book pressure is neither common nor standard. It

is one of many variables that are highly-customized by algorithmic trading firms, which is the

very reason to protect its confidentiality. Quantlab’s employees have acknowledged in interview

memoranda that Quantlab constantly adjusted the factors that went into its order book pressure

analysis, and sometimes made those adjustments on an ad hoc basis. Moreover, by Quantlab’s

own admission, order book pressure was only one factor that its algorithms considered before

entering bids or offers of their own: “Quantlab’s employees, when interviewed, told the

government that Quantlab had designed programs, such as Trader 1t, to trade using order book

pressure as one of the relevant ‘signals’ considered by the program.” Opp. at 2 (emphasis

added). Without those additional factors, the jury cannot consider the broad scope of information

that Quantlab’s algorithms analyze before deciding to trade, and ultimately decide whether Mr.

Flotron’s individual orders were material to that decision.

       In the face of Mr. Flotron’s request for squarely relevant evidence, Quantlab’s final

argument is that its algorithms are subject to overriding trade secret protection. But Quantlab

cites not a single case in which a company’s proprietary commercial interests outweighed a

criminal defendant’s right to discover critical exculpatory evidence, particularly where there was

little doubt that the requested documents will be relevant and admissible. That is because courts




                                                2
         Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 3 of 11



regularly acknowledge the opposite: when a criminal defendant makes a specific request for such

important evidence, trade secrets must be disclosed.

        Ultimately, Quantlab’s arguments suffer from the same defects as its witnesses’ expected

testimony. Quantlab asks the defense to accept without support that its algorithms incorporated

“order book pressure,” while admitting, without elaboration, that its algorithms also looked at

other factors. A criminal defendant cannot be expected to rely on faith alone for the fact that his

“victims” were indeed victimized, or that his bids and offers were material to any computer’s

investment decision. The Court should grant Mr. Flotron’s motion to compel Quantlab to

produce documents responsive to the Subpoena.1

                                               DISCUSSION

        A.       The Documents Requested Are Relevant,
                 Admissible, And Necessary For Mr. Flotron’s Defense

        The requested information is relevant, admissible, and necessary for Mr. Flotron’s

defense. It is therefore exactly the type of information that must be disclosed under Rule 17(c).

Quantlab does little to contest the information’s relevancy or admissibility. Instead, it argues that

Mr. Flotron has little need for the information because “there is no secret in how to calculate the

‘pressure’ that supply and demand exerts on the order book,” and the source code is

“unnecessary to understand how trading algorithms that utilize order book pressure work.” Opp.

at 2, 7. Specifically, Quantlab argues that its algorithms consider “order book pressure,” which is

a measure of whether there is “more interest on the buy or sell side” of the market. Opp. at 2.




1
  Quantlab raises important concerns about whether a protective order could adequately defend their trade secret
interests. The defense is open to working with Quantlab to take the necessary steps to ensure that its data is
protected, and that any use is in a carefully controlled environment, such as a secured data facility or closed
courtroom proceeding. The defense is currently negotiating a protective order with another third-party witness so
that both the defense and the witness’s interests will be preserved.


                                                      3
          Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 4 of 11



Quantlab suggests the defense should rely on publicly-available articles on the general topic.

Opp. at 7.

        Quantlab misunderstands Mr. Flotron’s need for the requested evidence. Quantlab’s own

employees have acknowledged repeatedly in interviews with government attorneys that they

frequently updated the factors that went into their calculation of order book pressure. Nor is there

any common or standard measure of order book pressure. According to those employees, while

Quantlab trading algorithms sometimes looked at all of the orders in the order book, at other

times those algorithms looked at only a small portion of them.2 This level of variability goes far

beyond the standardized “meatloaf” with “slight[] differen[ces]” that Quantlab claims in its

opposition. Opp. at 7. Moreover, Quantlab downplays the importance of the many “relevant

signals” that informed its algorithms’ decisions to trade or not trade. The defense understands

that Quantlab employees regularly adjusted the weight given to the various “signals” on a given

day, and even excluded some “signals” on some days. Again, that level of variability makes it

absolutely critical for Mr. Flotron to gain access to the algorithm running on a given day so that

he may introduce evidence of that algorithm at trial. Even now, after several meetings with

government lawyers and briefing before this Court, Quantlab has said little about the other

“relevant signals” its algorithms consider.

        Neither Mr. Flotron nor the jury should have to guess at whether and how Quantlab’s

algorithms factored in Mr. Flotron’s alleged “spoof” orders when that information is available

and subject to disclosure under Rule 17(c).

2
  Quantlab suggests in its Motion to Quash that its algorithms considered bids and offers at “the first two levels of
the order book.” Quantlab Financial LLC’s Motion to Quash Subpoena Duces Tecum at 2 ¶ 8, In re Quantlab
Financial LLC, No. 18 Mc. 20 (JAM) (D. Conn. Mar. 1, 2008). First, the defense needs to analyze the algorithms to
determine the veracity of that statement. Second and more importantly, the trades at issue in the case do not merely
relate to orders at the first two levels of the order book. Thus, by Quantlab’s own admission, its algorithms may not
have been factoring in Mr. Flotron’s alleged “spoof” orders. The only way for Mr. Flotron to prove that the
algorithms were not factoring in his alleged “spoof” order at a particular date is by reviewing Quantlab’s algorithms
on that date.


                                                        4
          Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 5 of 11



         B.       Quantlab’s Claim To Trade Secrets Protection Does Not Shield It From
                  Producing Documents Pursuant To A Valid Subpoena Duces Tecum

         Mr. Flotron has a right under Rule 17(c) to disclosure of evidence that is relevant and

admissible. See United States v. Nixon, 418 U.S. 683, 699-700 (1974).3 Here, he has satisfied

that standard, yet Quantlab persists in its argument that the company’s trade secrets protection

gives it the authority to withhold production of critical exculpatory evidence.4

         Quantlab cites to several cases seriatim for the proposition that its commercial interest in

its trade secrets should defeat Mr. Flotron’s subpoena. See Opp. at 5-6. Those cases are

inapposite and have no bearing on the instant motion. In those cases, courts found that the

requested trade secret had marginal or no relevance to the dispute between the parties, or that the

party requesting the subpoena had not made a threshold showing that disclosure of the requested

trade secret would reveal relevant information. For example, in Banner Indus. of N.E. v. Wicks,

No. 1:11-cv-1537, 2013 U.S. Dist. LEXIS 150559 (N.D.N.Y. Oct. 21, 2013), the district court

denied a request for disclosure of trade secrets after concluding that that the requested

information was “outside the scope of the present litigation” and was “not relevant” to the

alleged misconduct. Id. at *26, *29; see also Bell Atl. Bus. Sys. Servs. v. Hitachi Data Sys. Corp.,

No. M8-85, 1995 U.S. Dist. LEXIS 265, at *3-4 (S.D.N.Y. Jan. 13, 1995) (holding that



3
  The Nixon standard additionally requires that the defendant show that (1) the requested documents “are not
otherwise procurable reasonably in advance of trial;” (2) “that the party cannot properly prepare for trial without
such production;” and (3) “that the application is made in good faith and is not intended as a general fishing
expedition.” United States v. Nixon, 418 U.S. 683, 699-700 (1974). Mr. Flotron has satisfied these additional
requirements as well. See Memorandum Of Law In Support of Defendant’s Motion To Compel at 7-9 (Mar. 1,
2018), ECF No. 87 (“Deft. Br.”).
4
  Quantlab makes the additional argument that Mr. Flotron is not entitled to the requested documents because
impeachment evidence is not subject to disclosure under Rule 17(c). Opp. at 8-9. This argument is apparently based
on Mr. Flotron’s statement that the documents are necessary to “effectively prepare and cross examine” the
government’s witnesses. Id. at 8 (quoting Deft. Br. at 11-12). Mr. Flotron seeks the requested documents for their
evidentiary value and with the intent of introducing the documents or a subset of the documents into evidence. As
discussed above, they are relevant to issues that are central to Mr. Flotron’s defense, including the materiality of the
alleged misrepresentations. The fact that he may use the evidence during cross-examination of a witness, among
other times during trial, does not render it undiscoverable “impeachment” evidence.


                                                         5
          Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 6 of 11



proponent of subpoena had not made threshold showing that requested trade secret would have

misappropriated information contained in it); Viacom Int’l Inc. v. Youtube Inc. et al., 253 F.R.D.

256, 260-61 (S.D.N.Y. 2008) (holding that proponent of subpoena had not made “plausible”

showing that trade secret acted in way alleged, and concluding that proponent’s allegations were

“speculative”); People v. Cialino, 831 N.Y.S.2d 680, 682 (N.Y. Sup. Ct. 2007) (holding that

defendant had not provided sufficient basis for view that software update caused test results to be

unreliable and disclosure of trade secrets in software was therefore unwarranted).5

        Quantlab also cites United States v. Aleynikov, No. 10 Cr. 96 (DLC) (S.D.N.Y. 2010), for

the proposition that third parties may block computer code from disclosure even in criminal

cases. However, in that case like others cited by Quantlab, the defendant could not show that the

requested information was relevant and necessary to the contested issues at trial. In Aleynikov,

the defendant was charged with stealing two portions of code from a proprietary electronic

trading platform. Indictment, Aleynikov, No. 10 Cr. 96 (Feb. 11, 2010), ECF No. 18. The defense

wanted to show at trial that the misappropriated code excerpts did not have “independent

inherent intrinsic economic value” because they were only portions of a larger computer

platform. Hearing Transcript at 6:1-7:14, Aleynikov, No. 10 Cr. 96 (S.D.N.Y. June 29, 2010),

ECF No. 66-1. The court held that accessing source code for the portions not misappropriated

would be inappropriate because it was unnecessary to prove the essential fact that defendant did

not steal a complete, fully functioning trading platform. Id. at 56:5-11 (“The issue is . . . would it

be helpful to the defendant to show the source code and the specific algorithms that constitute



5
 Quantlab cites cases involving the misappropriation of trade secrets, which are further distinguishable because the
actual mechanical operation of the trade secrets were not at issue in those cases or were only ancillary issues. See
Quantlab Technologies, Limited (BVI) v. Kuharsky, 696 Fed. App’x 682 (5th Cir. June 22, 2017); Hearing
Transcript, Aleynikov, No. 10 Cr. 96 (S.D.N.Y. June 29, 2010), ECF No. 66-1; Bell Atl. Bus. Sys. Servs., 1995 U.S.
Dist. LEXIS 265, at *3-4.


                                                       6
          Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 7 of 11



the other components of the Goldman’s trading strategy, and my analysis is absolutely not, that

would not be helpful to the jury.”) (emphasis added).6

         Here, Mr. Flotron has far exceeded any threshold showing that the requested algorithms

would reveal relevant information. The entire scope of Quantlab’s employees’ testimony in this

case will concern the operation of their trading algorithms, and the effect that certain inputs had

on the trading decisions of those algorithms. Moreover, government interviews of Quantlab’s

employees make clear that their algorithms look at a number of relevant factors – which may or

may not include Mr. Flotron’s orders – and the nature of those constantly changing factors is

highly relevant to the defense. The various factors the algorithms consider are at the heart of the

materiality element of commodities fraud because they collectively constitute the total mix of

information available to the algorithms, the government’s purported “reasonable investors.”7




6
  In other instances, Quantlab cites cases where defense requests for DNA algorithms were denied because the
defendants were fishing for deficiencies in DNA test results and were provided with an opportunity to verify that
data. See People v. Superior Court, No. B258569, 2015 Cal. App. Unpub. LEXIS 105, at *25-32 (Cal. Ct. App. Jan.
9, 2015) (interpreting California rules of evidence) (holding that after defendant received specific information about
DNA algorithm’s underlying assumptions and opportunity to test the algorithm, he had not shown a “necessity” for
the source code as well); State v. Traylor, 656 N.W.2d 885, 889-90 (Minn. 2003) (holding that when defendant
simply sought to verify accuracy of DNA results, it was sufficient to produce “validation studies” under protective
order without producing the underlying code); see also United States v. Doyle, 1 F. Supp. 2d 1187, 1188 (D. Or.
1998); State v. Bastos, 985 So.2d 37, 42-43 (Fla. App. 2008). Here, Quantlab has produced no such intermediary
data, and Mr. Flotron is not seeking to simply “verify” routine test results.
7
  Quantlab cites to a single case form another circuit for the proposition that a statement is “material” in the context
of commodities fraud if it is “capable of influencing” an investment decision. See Opp. at 7 n.3 (citing United States
v. Coscia, 866 F.3d 782 (7th Cir. 2017)). Relative to other federal fraud statutes, “there is a dearth of case law
addressing § 1348.” United States v. Melvin, No. 14 Cr. 22, 2015 WL 7116737, at *5 (N.D. Ga. May 27, 2015),
report and recommendation adopted, 143 F. Supp. 3d 1354 (N.D. Ga. 2015). However, “[s]everal courts [within the
Second Circuit] have recognized that ‘because the text and legislative history of 18 U.S.C. § 1348 clearly establish
that it was modeled on the mail and wire fraud statutes,’ an analysis of Section 1348 ‘should be guided by the
caselaw construing those statutes.’” United States v. Wey, No. 15 Cr. 611 (AJN), 2017 WL 237651, at *9 n.6
(S.D.N.Y. Jan. 18, 2017) (quoting United States v. Motz, 652 F. Supp. 2d 284, 296 (E.D.N.Y. 2009)); see also
United States v. Mahaffy, No. 05 Cr. 613, 2006 WL 2224518, at *11 (E.D.N.Y. Aug. 2, 2006). Courts in this District
have found that a statement is material in the context of mail or wire fraud if there is a “substantial likelihood” that a
reasonable investor would find that the statement “significantly alter[ed] the ‘total mix’ of information made
available.” United States v. Ferguson, 553 F. Supp. 2d 145, 152 (D. Conn. 2008) (quoting Basic v. Levinson, 485
U.S. 224, 231 (1988)); see also Trial Tr. 2646:24-2647:3; 2661:9-16, United States v. Shapiro, No. 15 Cr. 155 (D.
Conn. June 1, 2017). Mr. Flotron will fully brief the standard for materiality under the commodities fraud statute in
its Proposed Request to Charge, to be filed on or before March 26, 2018. See ECF No. 45 (scheduling order).


                                                          7
          Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 8 of 11



        In sum, Quantlab’s claim to trade secrets protection should not block Mr. Flotron from

obtaining critical evidence in his defense that is relevant and admissible.

        C.       Mr. Flotron’s Constitutional Rights Overcome
                 Quantlab’s Claim Of Trade Secrets Protection

        Not only does Quantlab overstate the protection afforded to trade secrets subject to

disclosure under a valid criminal subpoena, but Quantlab also minimizes the constitutional

protections afforded to a criminal defendant and the way in which those protections can require

disclosure of key evidence, as they do here.

        First, Quantlab argues that the Sixth Amendment’s Confrontation Clause8 provides only a

trial right, meaning that the clause does not require disclosure at this pre-trial stage. That

argument ignores case law that allows discovery of critical evidence before trial “in order to

effectively prepare and cross examine” witnesses. United States v. Mazzola, 217 F.R.D. 84, 88

(D. Mass. 2003); accord Bassine v. Hill, 450 F. Supp. 2d 1182, 1185-86 (D. Or. 2006); see also

United States v. Lindstrom, 698 F.2d 1154, 1167-68 (11th Cir. 1983). In an effort to minimize

these holdings, Quantlab seeks to cabin those cases to a “limited exception applied by some

courts where the extrinsic evidence directly bears on the witness’s credibility at trial . . . .” Opp.

at 11. The cases themselves, however, create no such narrow exception. Rather, those cases and

others stand for the proposition that criminal defendants have the right to access documents

critical to confronting a witness against them, even where a privilege or protection might caution

against disclosure in other circumstances. See Mazzola, 217 F.R.D. at 88; Bassine, 450 F. Supp.


8
  Quantlab also misses the point regarding Mr. Flotron’s right to a public trial under the Sixth Amendment. The
relevant question is not whether the public’s First Amendment right to public access attaches to Quantlab’s
algorithms while they sit as private documents now, see Opp. at 16, but rather whether Mr. Flotron’s Sixth
Amendment right to a public trial will be a nullity if he is allowed to be convicted based on essentially secret
evidence. The answer to the latter question is yes. See Huminski v. Corsones, 396 F.3d 53, 81 (2d Cir. 2005); Waller
v. Georgia, 467 U.S. 39, 46 (1984). It is this right that is threatened by the government’s plan to elicit testimony
from Quantlab witnesses about the alleged effect of Mr. Flotron’s trading activity on their algorithms, and
Quantlab’s simultaneous invocation of trade secrets protection of the actual systems that were allegedly affected.


                                                       8
         Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 9 of 11



2d at 1185-86; see also Lindstrom, 698 F.2d at 1167-68; see also United States v. Soc’y of Indep.

Gasoline Marketers of Am., Nos. 77-2515 et al., 1980 U.S. App. LEXIS 21757, at *24 (4th Cir.

1980) (“Although a trial court should seek to prevent the disclosure of embarrassing, irrelevant

information concerning a witness, it is an abuse of discretion to preclude defense counsel from

obtaining relevant information, and the witness’ privacy must yield to the paramount right of the

defense to cross-examine effectively the witness in a criminal case.”).9

        Next, Quantlab reads too narrowly Mr. Flotron’s Fifth Amendment right to present a

complete defense. The Fifth Amendment right to present a complete defense provides that, “at a

minimum, . . . criminal defendants have the right . . . to put before the jury evidence that might

influence the determination of guilt.” Pennsylvania v. Ritchie, 480 U.S. 39, 56 (1987). This

constitutional right, together with others, “delivers exculpatory evidence into the hands of the

accused, thereby protecting the innocent from erroneous conviction and ensuring the integrity of

our criminal justice system.” California v. Trombetta, 467 U.S. 479, 485 (1984). Quantlab

correctly notes that the right to present a complete defense is often legitimately constrained by

the rules of evidence and rules of procedure. Opp. at 14. But courts have been clear that those

rules of evidence and procedure must bend when their application would render a trial

“fundamentally unfair.” Morales v. Portuondo, 154 F. Supp. 2d 706, 723 (S.D.N.Y. 2001); see,

e.g., Chambers v. Mississippi, 410 U.S. 284 (1973); Washington v. Texas, 388 U.S. 14, 20

(1967); see also United States v. Weisberg, No. 08 Cr. 347 (NGG), 2011 WL 1327689, at *5

(E.D.N.Y. Apr. 5, 2011) (noting that that attorney-client privilege may be overcome if otherwise

privileged information “is nevertheless so important to the defense that its disclosure is


9
  To further rebut Mr. Flotron’s Confrontation Clause argument, Quantlab cites non-binding cases where defendants
conducted fishing expedition-type discovery under cover of the Confrontation Clause and were subsequently
rebuked. See United States v. Ahmed, 2011 U.S. Dist. LEXIS 120191, at *7 (S.D.N.Y. Sept. 23, 2011); Superior
Court, 2015 Cal. App. Unpub. LEXIS 105, at *32.


                                                      9
        Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 10 of 11



constitutionally required”). There should be no doubt that allowing Mr. Flotron to face testimony

about trading algorithms’ functions while withholding his access to those algorithms under a

trade secrets protection would render the trial “fundamentally unfair.” Therefore, he has a right

to compel the production of the requested documents as part of his right to a complete defense.

                                               ***

       In its Opposition Brief and supporting affidavit (“Aff.”) (ECF No. 106), Quantlab refers

to Mr. Flotron as an “accused fraudster” and states its fear of turning over trading algorithms to

an individual who, if convicted, “had committed financial fraud.” Aff. at 2; Opp. at 17.

Quantlab’s total disregard for the presumption of innocence and its jaundiced view of what Mr.

Flotron will do if the trading algorithms are disclosed is emblematic of why the defense cannot

simply take Quantlab’s word for how its trading algorithms operate or were allegedly affected.

Quantlab already views Mr. Flotron with suspicion, and the defense cannot rely on Quantlab’s

unverified testimony about their algorithms without inspecting the algorithms themselves.

                                         CONCLUSION

       For the foregoing reasons, the Court should issue an order compelling Quantlab to

produce documents responsive to Request #1 in the Subpoena.

                                                     Respectfully submitted,

                                                     GREENBERG TRAURIG, LLP

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                                                10
       Case 3:17-cr-00220-JAM Document 117 Filed 03/09/18 Page 11 of 11



                                AFFIRMATION OF SERVICE

       I hereby certify that on March 9, 2018, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.


Dated: New York, New York
       March 9, 2018
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